       Case 4:19-cv-00892-HSG Document 216 Filed 10/18/19 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                             OAKLAND DIVISION

SIERRA CLUB and SOUTHERN BORDER
COMMUNITIES COALITION,                             Case no. 4:19-cv-00892-HSG

                       Plaintiffs,                 S.J. Hearing Date: November 20, 2019

        v.                                         Time: 10:00 AM

                                                   [PROPOSED] ORDER GRANTING
DONALD J. TRUMP, President of the                  MOTION FOR LEAVE TO FILE
United States, in his official capacity, et al.,   MEMORANDUM OF BRENNAN
                                                   CENTER FOR JUSTICE AND CATO
                        Defendants.                INSTITUTE AS AMICI CURIAE IN
                                                   SUPPORT OF PLAINTIFFS’ MOTION
                                                   FOR PARTIAL SUMMARY JUDGMENT




[PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO FILE                        Case No. 4:19-cv-00892
MEMO. OF BRENNAN CTR. & CATO INSTITUTE AS AMICI CURIAE
          Case 4:19-cv-00892-HSG Document 216 Filed 10/18/19 Page 2 of 2




         Before the Court is a motion to file a brief amicus curiae by the Brennan Center for Justice

at NYU School of Law and The Cato Institute, in support of Plaintiffs’ Motion for Partial Summary

Judgment.

         Having considered the pleadings and good cause appearing, it is hereby ORDERED that

the motion for leave to file an amicus curiae brief is GRANTED. It is further ORDERED that
thatamicus
the  counselcuriae
             is directed
                    brief to file theto
                           attached   amicus curiaeisbrief
                                        the motion         on the
                                                      deemed       docket
                                                                filed withinthis
                                                                             thiscourt
                                                                                  matter
                                                                                       upon entry of this

Order.


IT IS SO ORDERED.


DATED: __________
         10/18/2019                                     _________________________
                                                        Hon. Hayward S. Gilliam, Jr.
                                                        United States District Judge




                                         1
 [PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO FILE                              Case No. 4:19-cv-00892
 MEMO. OF BRENNAN CTR. & CATO INSTITUTE AS AMICI CURIAE
